   AO 241 (02/08) Order Regarding Motion for Sentence Rcduction


                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                           Southern District of Georgia
                                                              Savannah Division	                                 ,-
                     United States of America	                         )

                       Main Edward Jackson
Date of Previous Judgment: May 11, 2000	                               ) Stephen McCusker
 (Use Date of Last Amended Judgment if Applicable) 	                   ) Defendant's Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of	       the defendant Lithe Director of the Bureau of Prisons Lithe court under 18 U.s.c.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENIED.	       GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of ______________ months is reduced to

I. COURT DETERMINATION OF GUIDELINE RANGE                       (Prior to Any Departures)
Previous Offense Level:	                                                                     	
                           29	                                        Amended Offense Level:    29
Criminal History Category: VI	                                        Criminal History Category VI
Previous Guideline Range:	 151	                  to 188 months	       Amended Guideline Range 151 to 188 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
    The reduced sentence is within the amended guideline range.
R   The  previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
    of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
    amended guideline range.
Eli Other (explain):



Ill. ADDITIONAL COMMENTS
 l'he amendment to the crack cocaine guideline does not result in a change to the defendant's advisory guideline
range. The defendant's offense level was determined by the Count 3 offense, possession of a firearm by a convicted
felon. The Count 1 offense, distribution of crack cocaine, had no impact on the defendant's guideline range.

Except as provided above, all provisions of the judgment dated	                 May 11, 2000,	        shall remain in effect.
IT IS SO ORDERED.

Order Date:	           '7- 9-wo              T
                                                                          ,Judge's si ture


                                                                         B. Avant Edenfield
                                                                         United States District Judge
EffectiveDate: _______________________                                   For the Southern District of Georgia
                     (if different from order date)                                         Printed name and title
